Case 2:O4-cv-O2141-.]DB-dkv Document 22 Filed 08/25/05 Page 1 of 2 Pag |D 38

 

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WESTERN DISTRICT 0F TENNESS)§§ ms 25 m \\-. 3~_»_
WESTERN DIVISION
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VlNCENT LEFFLER and JANIS LEFFLER, JUDGMENT IN A CIVIL CASE
Individually, and as next friend of
MADISON LEFFLER,
Plaintiffs,
v.
O!-{~ , 52 i Li“ i:E-?>
MEMPHIS CITY SCHOOL BOARD CASE NO: 2:05'-2299-B
OF EDUCATION,
Defendant

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting
Defendant’s Motion For Summary Judgment entered on August 22, 2005, this cause is hereby
dismissed.

ROVED:

 

. NIEL BREEN `
U ED sTATEs DISTRICT coURT

g §>`3 j 04 THOMAS M. GOU.D
D te Clerk of Court

 

'Thi:; document entered oh the docket sheet in compliance
th ama 53 and/or 79{a) FHCP gm _&:DLJLO_:_ “~

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02141 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

